Case 1:17-cv-00740-EGB Document 23 Filed 10/13/17 Page 1 of 1

ORIGINAL

In the Anited States Court of Federal Claims

No. 17-740C
(Filed: October 13, 2017)

 

FILED
OCT 13 2017

U.S. COURT OF
FEDERAL CLAIMS

Kok KR Rk RR ck ok ok ok oR GR oR oo Ro

GRANVILLE SCRUGGS, I,
Plaintiff,

V.

THE UNITED STATES,

Defendant.

wok ok kok kook oe oR ok Rook deo He oe OOK KR ok

ORDER

Plaintiff filed his complaint on June 2, 2017. Defendant filed a motion
to dismiss pursuant to Rule 12(b)(6) on August 17, 2017. That motion is fully
briefed. Plaintiff also filed a motion to amend his complaint on September 26,
2017, On October 10, 2017, prior to the court ruling on either motion, plaintiff
filed a notice of voluntary dismissal pursuant to Rule 41. Accordingly, the
Clerk of Court is directed to dismiss the complaint without prejudice and to
enter judgment accordingly. All pending motions are denied as moot.

Len /E_, / A
ERIC G. BRUGGINK
Senior Judge

7Ole 3460 0001 7741 b?4s

 
